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                                  8
                                  9                         UNITED STATES DISTRICT COURT

                                 10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                       CRYSTAL REDICK, individually              CASE NO.:
                                 12    and on behalf of all others similarly
                                       situated,
                                 13                                                      CLASS ACTION COMPLAINT
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                                                            Plaintiff,                1. VIOLATIONS OF THE
                                 14                                                      AMERICANS WITH
                                             v.
                                 15                                                      DISABILITIES ACT OF 1990, 42
                                       MARUGAME UDON USA, LLC, a                         U.S.C. § 12181
                                 16    Delaware Limited Liability Company;            2. VIOLATIONS OF THE UNRUH
                                 17    and DOES 1 to 10, inclusive,                      CIVIL RIGHTS ACT
                                                                                         DEMAND FOR JURY TRIAL
                                 18                        Defendants.
                                 19
                                 20
                                 21          Plaintiff Crystal Redick (“Plaintiff”), individually and on behalf of all others

                                 22    similarly situated, brings this action based upon personal knowledge as to herself

                                 23    and her own acts, and as to all other matters upon information and belief, based

                                 24    upon, inter alia, the investigations of her attorneys.

                                 25                               NATURE OF THE ACTION

                                 26          1.     Plaintiff is a visually impaired and legally blind individual who

                                 27    requires screen-reading software to read website content using her computer.

                                 28    Plaintiff uses the terms “blind” or “visually impaired” to refer to all people with
                                                                                  1
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    visual impairments who meet the legal definition of blindness in that they have a
                                  2    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  3    who meet this definition have limited vision. Others have no vision.
                                  4          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  5    (hereafter “Class Members”), brings this Class Action to secure redress against
                                  6    Marugame Udon USA, LLC (hereafter “Defendant”), and DOES 1-10, for its
                                  7    failure to design, construct, maintain, and operate its website to be fully and equally
                                  8    accessible to and independently usable by Plaintiff and other blind or visually
                                  9    impaired people. Defendant’s denial of full and equal access to its website, and
                                 10    therefore denial of its products and services offered thereby and in conjunction with
                                 11    its physical locations, is a violation of Plaintiff’s rights under the Americans with
                                 12    Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 13          3.     Because Defendant’s website, https://www.marugameudon.com/ (the
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                                 14    “website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 15    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 16    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 17    procedures so that Defendant’s website will become and remain accessible to blind
                                 18    and visually impaired consumers.
                                 19                                      THE PARTIES
                                 20          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 21    County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 22    person, and a member of a protected class of individuals under the ADA, pursuant
                                 23    to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 24    at 28 CFR §§ 36.101 et seq.
                                 25          5.     Defendant Marugame Udon USA, LLC, is a Delaware limited liability
                                 26    company with its headquarters in Irvine, California. Defendant’s servers for the
                                 27    website are in the United States. Defendant conducts a large amount of its business
                                 28    in California and the United States as a whole. Defendant’s restaurants constitute
                                                                                  2
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                                  1    places of public accommodation. Defendant’s restaurants provide to the public
                                  2    important goods and services. Defendant’s website provides consumers access to
                                  3    hand crafted udon bowls, tempura, and beverages from a theater kitchen, allowing
                                  4    guests to watch as their food is prepared. Consumers can also access information
                                  5    regarding Defendant’s menu, restaurant locations, career opportunities, gift cards,
                                  6    news & promotions, how to sign up for Defendant’s newsletter, online ordering,
                                  7    gift cards, fundraising, and Defendant’s social media pages.
                                  8          6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                  9    Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 10    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 11    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 12    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 13    events and happenings alleged herein and that each Defendant sued herein as a DOE
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                                 14    proximately caused injuries and damages to Plaintiff as set forth below.
                                 15          7.     Defendant’s restaurants are public accommodations within the
                                 16    definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 17          8.     The website, https://www.marugameudon.com/, is a service, privilege,
                                 18    or advantage of Defendant’s services, products, and locations.
                                 19                              JURISDICTION AND VENUE
                                 20          9.     This Court has subject matter jurisdiction over the state law claims
                                 21    alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 22    §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 23    million, exclusive of interest and costs; and (b) some of the class members are
                                 24    citizens of a state (California).
                                 25          10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                 26    has been and continues to commit the acts or omissions alleged herein in the Central
                                 27    District of California, that caused injury, and violated rights prescribed by the ADA
                                 28    and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                                                                 3
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                                  1    A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  2    in the Central District of California. Specifically, on several separate occasions,
                                  3    Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  4    services of Defendant’s website in Los Angeles County. The access barriers
                                  5    Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                  6    full and equal access multiple times in the past and now deter Plaintiff on a regular
                                  7    basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                  8    has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                  9    enjoyment of goods and services offered at Defendant’s brick-and-mortar locations.
                                 10          11.    This Court also has subject-matter jurisdiction over this action
                                 11    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 12    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 13          12.    This Court has personal jurisdiction over Defendant because it
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                                 14    conducts and continues to conduct a substantial and significant amount of business
                                 15    in the State of California, County of Los Angeles, and because Defendant’s
                                 16    offending website is available across California.
                                 17          13.    Venue is proper in the Central District of California pursuant to 28
                                 18    U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 19    continues to conduct a substantial and significant amount of business in this District,
                                 20    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 21    portion of the conduct complained of herein occurred in this District.
                                 22      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 23          14.    The Internet has become a significant source of information, a portal,
                                 24    and a tool for conducting business, doing everyday activities such as shopping,
                                 25    learning, banking, researching, as well as many other activities for sighted, blind,
                                 26    and visually impaired persons alike.
                                 27          15.    In today's tech-savvy world, blind and visually impaired people have
                                 28    the ability to access websites using keyboards in conjunction with screen access
                                                                                  4
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                                  1    software that vocalizes the visual information found on a computer screen. This
                                  2    technology is known as screen-reading software.         Screen-reading software is
                                  3    currently the only method a blind or visually impaired person may use to
                                  4    independently access the internet. Unless websites are designed to be read by
                                  5    screen-reading software, blind and visually impaired persons are unable to fully
                                  6    access websites, and the information, products, and services contained thereon.
                                  7          16.    Blind and visually impaired users of Windows operating system-
                                  8    enabled computers and devices have several screen-reading software programs
                                  9    available to them. Some of these programs are available for purchase and other
                                 10    programs are available without the user having to purchase the program separately.
                                 11    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 12    popular, separately purchased and downloaded screen-reading software program
                                 13    available for a Windows computer.
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                                 14          17.    For screen-reading software to function, the information on a website
                                 15    must be capable of being rendered into text. If the website content is not capable
                                 16    of being rendered into text, the blind or visually impaired user is unable to access
                                 17    the same content available to sighted users.
                                 18          18.    The international website standards organization, the World Wide
                                 19    Web Consortium, known throughout the world as W3C, has published Success
                                 20    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 21    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 22    accessible to blind and visually impaired people. These guidelines are adopted,
                                 23    implemented, and followed by most large business entities who want to ensure their
                                 24    websites are accessible to users of screen-reading software programs. Though
                                 25    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 26    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 27    maintain, and provide a website that is accessible under the ADA to the public.
                                 28          19.    Within this context, the Ninth Circuit has recognized the viability of
                                                                                 5
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                                  1    ADA claims against commercial website owners/operators with regard to the
                                  2    accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                  3    55504 (9th Cir. Apr. 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  4    numerous courts that have already recognized such application.
                                  5          20.    Each of Defendant’s violations of the Americans with Disabilities Act
                                  6    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                  7    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  8    Civil Rights Act, Cal. Civ. Code § 51(f).
                                  9          21.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 10    equal access to their accommodations, facilities, and services.       A substantial
                                 11    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 12    Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 13    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
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                                 14    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 15    in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 16    51.
                                 17          22.    Inaccessible or otherwise non-compliant websites pose significant
                                 18    access barriers to blind and visually impaired persons.          Common barriers
                                 19    encountered by blind and visually impaired persons include, but are not limited to,
                                 20    the following:
                                 21                 a. A text equivalent for every non-text element is not provided;
                                 22                 b. Title frames with text are not provided for identification and
                                 23                     navigation;
                                 24                 c. Equivalent text is not provided when using scripts;
                                 25                 d. Forms with the same information and functionality as for sighted
                                 26                     persons are not provided;
                                 27                 e. Information about the meaning and structure of content is not
                                 28                     conveyed by more than the visual presentation of content;
                                                                                   6
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                f. Text cannot be resized without assistive technology up to 200
                                  2                   percent without loss of content or functionality;
                                  3                g. If the content enforces a time limit, the user is not able to extend,
                                  4                   adjust or disable it;
                                  5                h. Web pages do not have titles that describe the topic or purpose;
                                  6                i. The purpose of each link cannot be determined from the link text
                                  7                   alone or from the link text and its programmatically determined link
                                  8                   context;
                                  9                j. One or more keyboard operable user interface lacks a mode of
                                 10                   operation where the keyboard focus indicator is discernible;
                                 11                k. The default human language of each web page cannot be
                                 12                   programmatically determined;
                                 13                l. When a component receives focus, it may initiate a change in
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                                 14                   context;
                                 15                m. Changing the setting of a user interface component may
                                 16                   automatically cause a change of context where the user has not been
                                 17                   advised before using the component;
                                 18                n. Labels or instructions are not provided when content requires user
                                 19                   input;
                                 20                o. In content which is implemented by using markup languages,
                                 21                   elements do not have complete start and end tags, elements are not
                                 22                   nested according to their specifications, elements may contain
                                 23                   duplicate attributes and/or any IDs are not unique;
                                 24                p. Inaccessible Portable Document Format (PDFs); and
                                 25                q. The name and role of all User Interface elements cannot be
                                 26                   programmatically determined; items that can be set by the user
                                 27                   cannot be programmatically set; and/or notification of changes to
                                 28
                                                                               7
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                    these items is not available to user agents, including assistive
                                  2                    technology.
                                  3                              FACTUAL BACKGROUND
                                  4          23.    Defendant offers the https://www.marugameudon.com/ website to the
                                  5    public. The website offers features which should allow all consumers to access the
                                  6    goods and services which Defendant offers in connection with its physical
                                  7    locations. The goods and services offered by Defendant include, but are not limited
                                  8    to, the following: udon in varieties such as kake, beef, curry nikutama, curry,
                                  9    kitsune, mentai kamatama, nikutama, tonkotsu, kama-age, and B.K.; savory bowls
                                 10    such as beef teriyaki bowls and chicken teriyaki bowls; tempura in varieties such as
                                 11    chicken, shrimp, squid, sweet potato, tamagoyaki, crab meat, big chicken katsu, and
                                 12    potato croquette; sides such as B.K. Soup, kake soup, curry sauce, kitsune age,
                                 13    onsen egg, sweet beef, half servings of udon, and shredded seaweed; and beverages
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                                 14    such as bottled water, jasmine tea, quart teas, matcha lattes, oolong tea, calpico
                                 15    water, and green tea.    Consumers can also access information regarding the
                                 16    restaurant’s menu, restaurant locations, career opportunities, gift cards, news &
                                 17    promotions, how to sign up for Defendant’s newsletter, online ordering, gift cards,
                                 18    fundraising, and Defendant’s social media pages.
                                 19          24.    Based on information and belief, it is Defendant’s policy and practice
                                 20    to deny Plaintiff and Class Members, along with other blind or visually impaired
                                 21    users, access to Defendant’s website, and to therefore specifically deny the goods
                                 22    and services that are offered and integrated with Defendant’s restaurants. Due to
                                 23    Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                 24    and other visually impaired persons have been and are still being denied equal and
                                 25    full access to Defendant’s restaurants and the numerous goods, services, and
                                 26    benefits offered to the public through Defendant’s website.
                                 27    ///
                                 28    ///
                                                                                8
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                                  1    DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                  2       CODE § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                  3          25.    Plaintiff is a visually impaired and legally blind person, who cannot
                                  4    use a computer without the assistance of screen-reading software. However,
                                  5    Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                  6    as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                  7    https://www.marugameudon.com/ on several separate occasions using the JAWS
                                  8    and/or VoiceOver screen-readers.
                                  9          26.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 10    encountered multiple access barriers which denied Plaintiff full and equal access to
                                 11    the facilities, goods, and services offered to the public and made available to the
                                 12    public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                 13    Class Members encountered on Defendant’s website, Plaintiff and Class Members
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                                 14    have been deterred, on a regular basis, from accessing Defendant’s website.
                                 15    Similarly, the access barriers Plaintiff has encountered on Defendant’s website have
                                 16    deterred Plaintiff and Class Members from visiting Defendant’s physical locations.
                                 17          27.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 18    Members encountered multiple accessibility barriers for blind or visually impaired
                                 19    people that include, but are not limited to, the following:
                                 20                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 21                    is invisible code embedded beneath a graphic or image on a website
                                 22                    that is read to a user by a screen-reader. For graphics or images to
                                 23                    be fully accessible for screen-reader users, it requires that alt-text
                                 24                    be coded with each graphic or image so that screen-reading
                                 25                    software can speak the alt-text to describe the graphic or image
                                 26                    where a sighted user would just see the graphic or image. Alt-text
                                 27                    does not change the visual presentation, but instead a text box
                                 28                    shows when the cursor hovers over the graphic or image. The lack
                                                                                 9
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                  of alt-text on graphics and images prevents screen-readers from
                                  2                  accurately vocalizing a description of the image or graphic. As a
                                  3                  result, Plaintiff and Class Members, who are blind and visually
                                  4                  impaired customers, are unable to access Defendant’s authentic
                                  5                  tradition of noodle making. Plaintiff and Class Members are also
                                  6                  unable to access information regarding Defendant’s various menus,
                                  7                  find restaurant locations, career opportunities, gift cards, news &
                                  8                  promotions, how to sign up for Defendant’s newsletter, gift cards,
                                  9                  fundraising, and Defendant’s social media pages, or complete any
                                 10                  online orders;
                                 11               b. Empty Links that contain No Text causing the function or purpose
                                 12                  of the link to not be presented to the user. This can introduce
                                 13                  confusion for keyboard and screen-reader users;
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                                 14               c. Redundant Links where adjacent links go to the same URL address
                                 15                  which results in additional navigation and repetition for keyboard
                                 16                  and screen-reader users; and
                                 17               d. Linked Images missing alt-text, which causes problems if an image
                                 18                  within a link does not contain any descriptive text and that image
                                 19                  does not have alt-text. A screen reader then has no content to
                                 20                  present the user as to the function of the link, including information
                                 21                  or links for and contained in PDFs.
                                 22         28.   Recently in 2021, Plaintiff attempted to do business with Defendant
                                 23   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 24   website.      Plaintiff   has   visited        prior   iterations   of   the   website,
                                 25   https://www.marugameudon.com/, and also encountered barriers to access on
                                 26   Defendant’s website.
                                 27         29.   Despite past and recent attempts to do business with Defendant on its
                                 28   website, the numerous access barriers contained on the website and encountered by
                                                                                10
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                                  1   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                  2   Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                  3   continue to be deterred on a regular basis from accessing Defendant’s website.
                                  4   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                  5   been deterred and impeded from the full and equal enjoyment of goods and services
                                  6   offered in Defendant’s restaurants and from making purchases at such physical
                                  7   locations.
                                  8         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  9         30.    Due to the inaccessibility of the Defendant’s website, blind and
                                 10   visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 11   and equally use or enjoy the facilities and services Defendant offers to the public
                                 12   on its website. The access barriers Plaintiff has encountered have caused a denial
                                 13   of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
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                                 14   basis from accessing the website.
                                 15         31.    These access barriers on Defendant’s website have deterred Plaintiff
                                 16   from visiting Defendant’s physical locations and enjoying them equal to sighted
                                 17   individuals because: Plaintiff was unable to find the locations and hours of
                                 18   operation of Defendant’s restaurants on its website, preventing Plaintiff from
                                 19   visiting the locations to view and purchase products and/or services. Plaintiff and
                                 20   Class Members intend to visit the Defendant’s locations in the near future if Plaintiff
                                 21   and Class Members could access Defendant’s website.
                                 22         32.    If the website were equally accessible to all, Plaintiff and Class
                                 23   Members could independently navigate the website and complete a desired
                                 24   transaction, as sighted individuals do.
                                 25         33.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 26   knowledge of the access barriers that make these services inaccessible and
                                 27   independently unusable by blind and visually impaired people.
                                 28         34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                                                                11
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                                  1   and Class Members who are visually impaired consumers with equal access to the
                                  2   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                  3   intentional discrimination, including, but not limited to, the following policies or
                                  4   practices: constructing and maintaining a website that is inaccessible to visually
                                  5   impaired individuals, including Plaintiff and Class Members; failing to construct
                                  6   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                  7   visually impaired individuals, including Plaintiff and Class Members; and failing to
                                  8   take actions to correct these access barriers in the face of substantial harm and
                                  9   discrimination to blind and visually impaired consumers, such as Plaintiff and Class
                                 10   Members, as a member of a protected class.
                                 11         35.    The Defendant uses standards, criteria or methods of administration
                                 12   that have the effect of discriminating or perpetuating the discrimination against
                                 13   others, as alleged herein.
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                                 14         36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 15   seeks in this action. In relevant part, the ADA requires:
                                 16
                                            In the case of violations of … this title, injunctive relief shall include
                                 17         an order to alter facilities to make such facilities readily accessible to
                                 18         and usable by individuals with disabilities …. Where appropriate,
                                            injunctive relief shall also include requiring the … modification of a
                                 19         policy …. 42 U.S.C. § 12188(a)(2).
                                 20         37.    Because Defendant’s website has never been equally accessible, and
                                 21   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 22   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 23   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 24   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 25   with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 26   accessible for individuals with disabilities who use desktop computers, laptops,
                                 27   tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 28   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                                                                12
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                                  1   Defendant’s employees and agents who develop the website on accessibility
                                  2   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                  3   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                  4   blind or vision-impaired persons to ensure that the Defendant’s website complies
                                  5   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                  6   disclosed on the Defendant’s website, with contact information for users to report
                                  7   accessibility-related problems and require that any third-party vendors who
                                  8   participate on the Defendant’s website to be fully accessible to the disabled by
                                  9   conforming with WCAG 2.1.
                                 10         38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                 11   could independently access information about locations, hours, services offered,
                                 12   and goods available for online purchase.
                                 13         39.    Although Defendant may currently have centralized policies regarding
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                                 14   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 15   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 16   and independently usable by, blind and other visually impaired consumers.
                                 17         40.    Defendant has, upon information and belief, invested substantial sums
                                 18   in developing and maintaining Defendant’s website, and Defendant has generated
                                 19   significant revenue from Defendant’s website. These amounts are far greater than
                                 20   the associated cost of making Defendant’s website equally accessible to visually
                                 21   impaired customers.
                                 22         41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 23   be unable to independently use Defendant’s website, violating their rights.
                                 24                           CLASS ACTION ALLEGATIONS
                                 25         42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 26   certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide
                                 27   class is initially defined as follows:
                                 28
                                                                                 13
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                                  1         all legally blind individuals who have attempted to access Defendant’s
                                            website by the use of a screen reading software during the applicable
                                  2         limitations period up to and including final judgment in this action.
                                  3         43.    The California class is initially defined as follows:
                                  4
                                            all legally blind individuals in the State of California who have
                                  5         attempted to access Defendant’s website by the use of a screen reading
                                  6         software during the applicable limitations period up to and including
                                            final judgment in this action.
                                  7
                                            44.    Excluded from each of the above Classes is Defendant, including any
                                  8
                                      entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                  9
                                      which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 10
                                      representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 11
                                      excluded are the judge and the court personnel in this case and any members of their
                                 12
                                      immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 13
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                                      discovery and further investigation reveal that the Classes should be expanded or
                                 14
                                      otherwise modified.
                                 15
                                            45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 16
                                      and may properly be maintained as a class action against Defendant under Rules
                                 17
                                      23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 18
                                      number and identities of other Class Members are unknown to Plaintiff at this time,
                                 19
                                      Plaintiff is informed and believes that there are hundreds of thousands of Members
                                 20
                                      in the Class. Based on the number of customers who have visited Defendant’s
                                 21
                                      California restaurants, it is estimated that the Class is composed of more than 10,000
                                 22
                                      persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 23
                                      is estimated that each subclass would have thousands of Members. The Members
                                 24
                                      of the Class are so numerous that joinder of all Members is impracticable and the
                                 25
                                      disposition of their claims in a class action rather than in individual actions will
                                 26
                                      benefit the parties and the courts.
                                 27
                                            46.    Typicality: Plaintiff and Class Members’ claims are typical of the
                                 28
                                                                                14
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                                  1   claims of the Members of the Class as all Members of the Class are similarly
                                  2   affected by Defendant’s wrongful conduct, as detailed herein.
                                  3         47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                  4   the Members of the Class in that they have no interests antagonistic to those of the
                                  5   other Members of the Class. Plaintiff has retained experienced and competent
                                  6   counsel.
                                  7         48.    Superiority: A class action is superior to other available methods for
                                  8   the fair and efficient adjudication of this controversy. Since the damages sustained
                                  9   by individual Class Members may be relatively small, the expense and burden of
                                 10   individual litigation makes it impracticable for the Members of the Class to
                                 11   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 12   adjudication of this controversy through a class action will avoid the potentially
                                 13   inconsistent and conflicting adjudications of the claims asserted herein. There will
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                                 14   be no difficulty in the management of this action as a class action. If Class treatment
                                 15   of these claims were not available, Defendant would likely unfairly receive
                                 16   thousands of dollars or more in improper revenue.
                                 17         49.    Common Questions Predominate: Common questions of law and fact
                                 18   exist as to all Members of the Class and predominate over any questions solely
                                 19   affecting individual Members of the Class. Among the common questions of law
                                 20   and fact applicable to the Class are:
                                 21                    i. Whether Defendant’s website,
                                 22                       https://www.marugameudon.com/, is inaccessible to the
                                 23                       visually impaired who use screen reading software to access
                                 24                       internet websites;
                                 25                   ii. Whether Plaintiff and Class Members have been unable to
                                 26                       access https://www.marugameudon.com/ through the use of
                                 27                       screen-reading software;
                                 28                  iii. Whether the deficiencies in Defendant’s website violate the
                                                                                15
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                                  1                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                  2                       seq.;
                                  3                  iv. Whether the deficiencies in Defendant’s website violate the
                                  4                       California Unruh Civil Rights Act, California Civil Code § 51
                                  5                       et seq.;
                                  6                   v. Whether, and to what extent, injunctive relief should be imposed
                                  7                       on Defendant to make https://www.marugameudon.com/
                                  8                       readily accessible to and usable by visually impaired
                                  9                       individuals;
                                 10                  vi. Whether Plaintiff and Class Members are entitled to recover
                                 11                       statutory damages with respect to Defendant’s wrongful
                                 12                       conduct; and
                                 13                  vii. Whether further legal and/or equitable relief should be granted
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                                 14                       by the Court in this action.
                                 15         50.    The class is readily definable, and prosecution of this action as a Class
                                 16   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 17   difficulty which will be encountered in the management of this litigation which
                                 18   would preclude their maintenance of this matter as a Class action.
                                 19         51.    The prerequisites to maintaining a class action for injunctive relief or
                                 20   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 21   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 22   injunctive or equitable relief with respect to the Class as a whole.
                                 23         52.    The prerequisites to maintaining a class action for injunctive relief or
                                 24   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 25   common to the Class predominate over any questions affecting only individual
                                 26   Members; and a class action is superior to other available methods for fairly and
                                 27   efficiently adjudicating the controversy.
                                 28         53.    The prosecution of separate actions by Members of the Class would
                                                                                  16
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                                  1   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                  2   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                  3   interest of all Members of the Class, although certain Class Members are not parties
                                  4   to such actions.
                                  5         54.    Defendant’s conduct is generally applicable to the Class as a whole
                                  6   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                  7   whole. As such, Defendant’s systematic policies and practices make declaratory
                                  8   relief with respect to the Class as a whole appropriate.
                                  9                                        COUNT I
                                 10      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 11                                 U.S.C. § 12181 ET SEQ.
                                 12         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 13         55.    Plaintiff alleges and incorporates herein by reference each and every
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                                 14   allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 15   set forth fully herein.
                                 16         56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 17   provides: “No individual shall be discriminated against on the basis of disability in
                                 18   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 19   advantages, or accommodations of any place of public accommodation by any
                                 20   person who owns, leases (or leases to), or operates a place of public
                                 21   accommodation.” 42 U.S.C. § 12182(a).
                                 22         57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 23   discrimination also includes, among other things: “a failure to make reasonable
                                 24   modifications in policies, practices, or procedures, when such modifications are
                                 25   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 26   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 27   that making such modifications would fundamentally alter the nature of such goods,
                                 28   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                                                                17
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                                  1   take such steps as may be necessary to ensure that no individual with a disability is
                                  2   excluded, denied services, segregated or otherwise treated differently than other
                                  3   individuals because of the absence of auxiliary aids and services, unless the entity
                                  4   can demonstrate that taking such steps would fundamentally alter the nature of the
                                  5   good, service, facility, privilege, advantage, or accommodation being offered or
                                  6   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                  7   accommodation shall take those steps that may be necessary to ensure that no
                                  8   individual with a disability is excluded, denied services, segregated or otherwise
                                  9   treated differently than other individuals because of the absence of auxiliary aids
                                 10   and services, unless the public accommodation can demonstrate that taking those
                                 11   steps would fundamentally alter the nature of the goods, services, facilities,
                                 12   privileges, advantages, or accommodations being offered or would result in an
                                 13   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
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                                 14   order to be effective, auxiliary aids and services must be provided in accessible
                                 15   formats, in a timely manner, and in such a way as to protect the privacy and
                                 16   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 17         58.     Defendant’s locations are “public accommodations” within the
                                 18   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 19   revenue from the sale of its amenities and services, privileges, advantages, and
                                 20   accommodations in California through its locations, related services, privileges,
                                 21   advantages,        and        accommodations,          and        its       website,
                                 22   https://www.marugameudon.com/, is a service, privilege, advantage, and
                                 23   accommodation provided by Defendant that is inaccessible to customers who are
                                 24   visually impaired like Plaintiff.   This inaccessibility denies visually impaired
                                 25   customers full and equal enjoyment of and access to the facilities and services,
                                 26   privileges, advantages, and accommodations that Defendant made available to the
                                 27   non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 28   42 U.S.C. § 12181 et seq., in that Defendant denies visually impaired customers the
                                                                               18
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                                  1   services,    privileges,   advantages,     and    accommodations        provided    by
                                  2   https://www.marugameudon.com/. These violations are ongoing.
                                  3         59.    Defendant’s actions constitute intentional discrimination against
                                  4   Plaintiff and Class Members on the basis of a disability in violation of the
                                  5   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                  6   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                  7   the website in this inaccessible form; and has failed to take adequate actions to
                                  8   correct these barriers even after being notified of the discrimination that such
                                  9   barriers cause.
                                 10         60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 11   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 12                                        COUNT II
                                 13     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
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                                 14                               CIVIL CODE § 51 ET SEQ.
                                 15                      (On Behalf of Plaintiff and the California Class)
                                 16         61.    Plaintiff alleges and incorporates herein by reference each and every
                                 17   allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 18   set forth fully herein.
                                 19         62.    Defendant’s locations are “business establishments” within the
                                 20   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                 21   dollars in revenue from the sale of its services in California through its restaurant
                                 22   locations and related services, and https://www.marugameudon.com/ is a service
                                 23   provided by Defendant that is inaccessible to customers who are visually impaired
                                 24   like Plaintiff and Class Members. This inaccessibility denies visually impaired
                                 25   customers full and equal access to Defendant’s facilities and services that Defendant
                                 26   makes available to the non-disabled public. Defendant is violating the Unruh Civil
                                 27   Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually
                                 28   impaired customers the services provided by https://www.marugameudon.com/.
                                                                                19
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                                  1   These violations are ongoing.
                                  2         63.    Defendant’s actions constitute intentional discrimination against
                                  3   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                  4   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                  5   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                  6   in this inaccessible form; and has failed to take adequate actions to correct these
                                  7   barriers even after being notified of the discrimination that such barriers cause.
                                  8         64.    Defendant is also violating the Unruh Civil Rights Act, California
                                  9   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 10   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 11   of the California Civil Code provides that a violation of the right of any individual
                                 12   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 13         65.    The actions of Defendant were and are in violation of the Unruh Civil
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                                 14   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 15   Members are entitled to injunctive relief remedying the discrimination.
                                 16         66.    Plaintiff and Class Members are also entitled to statutory minimum
                                 17   damages pursuant to California Civil Code § 52 for each and every offense.
                                 18         67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 19   fees and costs.
                                 20         68.    Plaintiff and Class Members are also entitled to a preliminary and
                                 21   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 22   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 23   necessary to make https://www.marugameudon.com/ readily accessible to and
                                 24   usable by visually impaired individuals.
                                 25                                PRAYER FOR RELIEF
                                 26         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 27   respectfully requests that the Court enter judgment in her favor and against
                                 28   Defendant as follows:
                                                                                 20
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                                  1         A.     For an Order certifying the Nationwide Class and California Class as
                                  2                defined herein and appointing Plaintiffs and her Counsel to represent
                                  3                the Nationwide Class and the California Class;
                                  4         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                  5                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                  6                enjoining Defendant from violating the Unruh Civil Rights Act and
                                  7                ADA and requiring Defendant to take the steps necessary to make
                                  8                https://www.marugameudon.com/ readily accessible to and usable by
                                  9                visually impaired individuals;
                                 10         C.     An award of statutory minimum damages of $4,000 per offense per
                                 11                person pursuant to section 52(a) of the California Civil Code.
                                 12         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 13                52(a), 52.1(h), and 42 U.S.C. § 12205;
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                                 14         E.     For pre-judgment interest to the extent permitted by law;
                                 15         F.     For costs of suit; and
                                 16         G.     For such other and further relief as the Court deems just and proper.
                                 17                             DEMAND FOR JURY TRIAL
                                 18         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 19   demands a jury trial for all claims so triable.
                                 20
                                      Dated: February 4, 2022                           Respectfully Submitted,
                                 21
                                 22                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho
                                 23                                                     Binyamin I. Manoucheri
                                 24                                                     WILSHIRE LAW FIRM
                                                                                        Attorneys for Plaintiff and
                                 25                                                     Proposed Class
                                 26
                                 27
                                 28
                                                                                 21
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
